      Case 6:24-cv-00205-AA           Document 19-1         Filed 05/02/24       Page 1 of 6



                                   CITY OF CORVALLIS
                               BUDGET COMMISSION MINUTES
                                       May 4, 2023


Present                                           Staff
Citizen Members:                                  Mark Shepard, City Manager
Steve Lee, Chair                                  Ryan Seidl, Finance Director
Marjorie Stevens                                  Meredith Petit, Parks & Recreation Director
Pamela Burnor                                     Ben Janes, Fire Chief
Ben John                                          Jason Harvey, Police Chief
Karyle Butcher                                    Ashlee Chavez, Library Director
Robert Upson                                      Jeff Blaine, Public Works Director
Bao Vo                                            Mary Beth Altmann Hughes, HR Director
Brandon Trelstad                                  Abbie Alexander, Central Admin. Services Mgr.
                                                  Tatiana Bakhtina, Senior Budget Analyst
City Councilors:
                                                  Hunter Sams, Budget Analyst
Tony Cadena, Vice Chair
                                                  Claire Pate, Recorder
Charlyn Ellis
Jan Napack
Hyatt Lytle
Gabe Shepherd
Laurie Chaplen
Paul Shaffer
Briae Lewis
Tracey Yee

Absent
None




SUMMARY OF DISCUSSION

                      Agenda                                      Recommendations
   I. Call to Order                               6:00 p.m.
  II. Roll Call                                   Roll call conducted; quorum present.
 III. Department Presentations
          a. Human Resources
          b. Finance                              For information only
          c. Information Technology
          d. City Manager’s Office
 IV. Adjourn                                      8:17 p.m.
      Next Meeting                                May 8. 2023; 6:00 p.m.

Attachments
   A. Meeting Handouts, as detailed in Call to Order
   B. Department Slide Presentations




Budget Commission Minutes, May 4, 2023                                                   Page 1 of 6
                                                                                    Ex. 1 - Shepard Decl.
                                                                                             Page 1 of 6
       Case 6:24-cv-00205-AA          Document 19-1          Filed 05/02/24       Page 2 of 6



CONTENT OF DISCUSSION
 I.  CALL TO ORDER
     Chair Steve Lee opened the meeting at 6:00 p.m., held in person in the Downtown Fire Station
     meeting room and online via live Webinar. Finance Director Ryan Seidl handed out documents
     (Attachment A) including: 1) an Internal Service Charge Summary; 2) Citywide Budget by
     Fund, with both adopted and projected amounts; 3) Reserves, Fund Balances and Contingencies
     by Fund; and 4) Revision of Budget Document – Federal Stimulus Fund Section.

       Commissioner Karyle Butcher shared her appreciation for the work done by staff on the budget.

       Councilor Laurie Chaplen would like to see a summary of the new facility fund in one place in
       the budget document, for transparency.

 II.   ROLL CALL
       Roll call was taken, and a quorum was present.

III.   DEPARTMENT PRESENTATIONS
       a. HUMAN RESOURCES
          Human Resources (HR) Director Mary Beth Altmann Hughes presented the department
          budget overview and provided highlights of accomplishments, goals, and challenges
          (Attachment B) and department pages starting on page 277 of the budget document, along
          with the Risk Management Fund on page 283. Accomplishments included successfully
          concluding bargaining with two employee units; hiring and processing 285 new employees
          (both regular and casual staff); and implementing software and onboarding tools to increase
          efficiency organization-wide.

           Commissioner comments and responses to commissioner questions are as follows:
           • In response to a question from Councilor Charlyn Ellis, Director Altmann Hughes noted
              that Human Resources has one FTE not filled. In an ideal world, they would like three
              additional FTEs within the Division - 2 for HR and one for Central Administrative
              Services (CAS). The increase in legislative demands keeps adding up.
           • In response to a question from Commissioner Ben John related to organizational stress,
              Director Altmann Hughes noted that they conduct exit interviews to determine factors
              leading to departures from the organization and use employee engagement surveys to
              gather information. They are behind in that cycle due to COVID. John encouraged
              employing surveys more frequently, as staffing allows.
           • Commissioner John appreciated the benchmarking graph included with the Risk
              Management Fund and would like to see this with other departments as a point of
              reference.
           • In response to questions from Councilor Hyatt Lytle, Director Altmann Hughes noted
              that the purchase of the two electric vehicles was accomplished. A third will be
              purchased in the upcoming fiscal year. Secondly, the safety audit had been carried
              forward and was completed with money being spent on safety improvements based on
              the outcome of that audit. The projection is to complete spending the money by the end
              of the current fiscal year.
           • In response to questions from Councilor Tony Cadena, Director Altmann Hughes said
              that employee turnover included 82 regular FTEs with the balance associated with casual
              and seasonal hires. Turnover rates for this period were higher than those in the past but
              are below the industry benchmarks. Data is collected and tracked relating to reasons for
              leaving. Level of interest in open positions is increasing and employee retention is



Budget Commission Minutes, May 4, 2023                                                     Page 2 of 6
                                                                                     Ex. 1 - Shepard Decl.
                                                                                              Page 2 of 6
      Case 6:24-cv-00205-AA           Document 19-1          Filed 05/02/24        Page 3 of 6



              improving. In terms of achieving operational excellence, there is not a lot available of
              bandwidth currently, though they are always looking for ways to do things more
              efficiently. Automating processes is one avenue towards creating greater efficiency.
          •   In response to questions from Councilor Paul Shaffer, Director Altmann Hughes noted
              that revenue listed as “Other Charges for Service” includes revenue from employees who
              purchase health insurance after retirement. It is money in and money out. In terms of
              satisfactorily recruiting a diverse job applicant base, HR continues to expand advertising
              and recruiting efforts through publications and communications that target diverse
              groups. The benchmark, which is set low for 2024, will likely increase moving forward.
              Finally, the greater number of OSHA recordable cases as compared to an average of all
              Oregon local governments can be partially explained by not all other local governments
              being full service; i.e. they might not include fire or parks services. This is the closest
              benchmark available for use, but it is not always an apples-to-apples comparison. The
              safety audit and purchase of appropriate safety equipment has been accomplished with an
              eye towards reducing the number of injuries. Monthly safety committee meetings are
              held to identify ways of improving.
          •   In response to Councilor Gabe Shepherd relating to specific employee turnover data for
              last fiscal year, Director Altmann Hughes said that as of July 2022, 59 people left City
              employment. Ten were terminated; seven left Oregon; ten left because they were leaving
              their profession; 23 got new positions and opportunities elsewhere; one person wished to
              telecommute; and eight people retired. Three people cited that facilities were the reason
              why they chose to look for positions elsewhere.

       b. FINANCE
          Finance Director Seidl presented the department budget overview and provided highlights of
          accomplishments, goals, and challenges (Attachment B), and department pages starting with
          “Finance at a Glance” on page 65 of the Budget document. A major accomplishment was
          facilitating the City Services Fee review and adjustment process in a way that informed and
          explained the fees to the public and succeeded in alleviating a lot of the negative feelings
          community members may have had. A major goal and challenge will be to move to a biennial
          budget process in the not-too-distant future. This would alleviate the budget analysts’ time
          spent aggregating data instead of performing analyses. Monitoring and mitigating inflation
          for the City as a whole will also continue to take up a lot of staff time. Finally, there is
          regulatory work to be done, especially with ARPA funding and State requirements, so there is
          a great need to get fully staffed.

          Commissioner comments and responses to commissioner questions are as follows:
          • In response to a question from Councilor Ellis, Director Seidl said that Finance has three
             vacancies. In an ideal world, they could use three more employees on top of the
             seventeen positions they have; but they would not have any place to put them.
          • In response to a question from Commissioner Pam Burnor, Director Seidl said that it
             would not work well to have employees work from home as there is a lot of on-the-job
             training. There may be a possibility of some established employees working from home.
          • In response to questions from Commissioner Rob Upson about the fact that the “Actual
             FY 21-22” budget amounts have not yet been audited, Director Seidl said that one of the
             reasons for this is the challenge to maintain City staffing as well as turnover experience
             by the City’s auditors. The City will be changing auditors in the next year to get a fresh
             set of eyes on the books. There are no known areas that will significantly change with
             completion of the audit. Seidl also noted that since they do not have the annual report




Budget Commission Minutes, May 4, 2023                                                       Page 3 of 6
                                                                                       Ex. 1 - Shepard Decl.
                                                                                                Page 3 of 6
      Case 6:24-cv-00205-AA            Document 19-1           Filed 05/02/24         Page 4 of 6



              results back yet, they have been in contact with the State and all other pertinent entities to
              let them know.
          •   In response to additional questions from Commissioner Upson, Director Seidl said that
              they do not have any major equipment needs but could use some “bells and whistles”
              associated with their ERP (Enterprise Resource Planning) system. Additionally, Finance
              would like to explore moving to a community-accessible web-based budgeting system, as
              used by Eugene. However, this would put an undue burden on staff to take it on at this
              time. In terms of the last Treasury report from December, which showed that the net
              unrealized loss on investments was $3 million, there is no concern of having adequate
              liquidity, especially because some of the City’s pooled investments come through the
              Local Government Investment Pool which provides liquidity while still earning some
              interest. As it relates to all US Treasury investments and debt ceiling conversations, they
              are out of the City’s control.
          •   Commissioner Upson’s final question related to investment income, the interest rate that
              was being applied to determine interest revenue, and what input was used in determining
              the ending fund balance. Upson’s question is whether staff use a conservative approach
              or a more realistic one. Director Seidl did not have the information at hand but will return
              with a response.
          •   Commissioner Marjorie Stevens suggested that as staff look into new sources of revenue,
              they review the Council committee report generated in 2015-16 on alternative revenue
              services for the City. City Manager Shepard said it would be part of the review process.
          •   In response to a question from Councilor Cadena related to needed improvements for
              operational efficiency, Director Seidl referred to the City Services billing process and that
              more people have been paying their bills electronically. The goal is to be at 51%, as
              opposed to 30% which is the current rate. This would free up staff time for long-term
              quantitative work.
          •   In response to a question from Councilor Shepherd relating to moving to a biennial
              budget process, staff still has a lot of review and analysis work ahead of them before
              taking this step. The logistical work will be difficult but worthwhile. This project was
              adopted into the Strategic Operational Plan as item E-2I. Staff look to Council for
              continued support and have appreciated commissioner comments of support as they work
              towards the goal.

       c. INFORMATION TECHNOLOGY
          Information Technology Director Michael Livingston presented the department budget
          overview and provided highlights of accomplishments, goals, and challenges (Attachment
          B), and department pages starting with page 261 of the Budget document. Highlights
          included implementation of an automated door lock system for all City buildings;
          successfully upgrading software and implementing a system for tracking employee time; and
          the challenges of hiring qualified employees and having adequate space for staff.

          Commissioner comments and responses to commissioner questions are as follows:
          • In response to a question from Councilor Ellis, Director Livingston said they have been
             maintaining about three vacancies for the past year. Ideally, they would like to have a
             specialist for their financial and human resource systems along with a staff person who
             can fill in as a security specialist with the increase in cybersecurity threats.
          • In response to a question from Commissioner Upson, staff said that the majority of the
             revenue comes from the General Fund, in the form of Internal Service Charges paid into
             the 620 fund for services provided to the various departments. Staffing makes up




Budget Commission Minutes, May 4, 2023                                                          Page 4 of 6
                                                                                         Ex. 1 - Shepard Decl.
                                                                                                  Page 4 of 6
      Case 6:24-cv-00205-AA            Document 19-1           Filed 05/02/24        Page 5 of 6



                approximately 65% of the budget, with the balance of expenditures related to materials
                and services.
           •    In response to a question from Councilor Lytle, the “Other” category consists of
                reimbursement payments for public records requests.
           •    In response to a question from Commissioner Ben John related to cybersecurity needs,
                Director Livingston said that they have just undertaken a City-wide cybersecurity
                training program to deal with the larger threat of social engineering. Ideally, it would be
                good to have an employee with the skill-set and time to take on the cybersecurity efforts.
           •    Councilor Laurie Chaplen suggested that councilors also get the training.

       d. CITY MANAGER’S OFFICE
          City Manager Shepard presented the department budget overview and provided highlights of
          accomplishments, goals, and challenges (Attachment B), and department pages starting with
          the “Office at a Glance” on page 61. The office is responsible for two components:
          Governance (pages 269-71) and Economic Development (page 139). Highlights for the
          governance component, aside from the City Manager’s efforts to provide long-term
          stewardship of the City, include City Recorder Alex Downing’s undertaking to streamline
          public information requests; and Public Information Officer Patrick Rollens’ exploration and
          utilization of multiple pathways for getting information out to the community. The City has
          continued with implementation of the International Association of Public Participation
          (IAP2) framework for meaningful community engagement; and successfully concluded its
          first ranked choice vote in conjunction with Benton County. A major undertaking will be
          work on process improvements and infrastructure needs and finding efficiencies to create
          more organizational capacity and the ability to do more with less. The biennial community
          satisfaction survey is the only way of getting statistically valid community feedback, and this
          will be conducted in 2024.

           Before moving on to the Economic Development component, Manager Shepard offered an
           opportunity for questions:
           • In response to a question from Councilor Lytle, the Revenue category of “Other”
               includes rebates for purchasing cards based on dollar value of purchases each year. In
               terms of how the revenue flows back in for public record requests, Lytle will follow up
               online for that information.
           • In response to a question from Commissioner John related to the Operating Budget line
               item “City Manager’s Office Non-Recurring,” as shown on page 124 of the Budget
               document, Manager Shepard said it reflects the Economic Development Office’s non-
               recurring project budget as shown on page 142. These are large grants that were already
               secured, with the work moving forward into the next fiscal year.
           • Commissioner John suggested that the City undertake doing the employee engagement
               survey at a certain cadence so that change can be measured and used as a performance
               measure for leadership. The Community Satisfaction survey could also be used as a
               measure.
           • In response to a question from Councilor Ellis, Manager Shepard said that they could
               use one additional staff person for next year.
           • In response to a question from Councilor Shaffer, Manager Shepard said that the
               funding for project management and design work related to top priority facility projects
               was partially for personnel services to cover Mary Steckel’s time with the balance for
               architectural services coming out of an assigned Non-Departmental appropriated reserve
               fund. Moving forward, the funds that are proposed for facility replacement will go into
               an identified, appropriated reserve.


Budget Commission Minutes, May 4, 2023                                                         Page 5 of 6
                                                                                        Ex. 1 - Shepard Decl.
                                                                                                 Page 5 of 6
      Case 6:24-cv-00205-AA            Document 19-1           Filed 05/02/24        Page 6 of 6




           •   In response to questions from Commissioner Upson related to the Administrative
               Services Fund, as depicted on page 329 of the Budget document, Manager Shepard said
               that they want to be careful about building up reserves in an Internal Service Fund and
               ensure they are expending funds pulled in from other sources, such as the Water Fund.
               At the end of the fiscal year, they analyze the remaining fund balance and have a
               conversation about whether to refund unused funds or offset the projected balance by
               reducing charges for the following year. It is designed to break even. At the time that
               Director Seidl came on board, there was possibly a change in how the Internal Services
               Fund was calculated with an increase in the allocation; but staff would have to get back
               with more information on that. Manager Shepard said that the balances are also possibly
               being driven by the number of vacancies in Internal Service departments, such as in
               Finance and IT primarily. Since those vacancies might continue through this budget
               year, the balances might end up the same.

          Manager Shepard moved on to present the Economic Development Office (EDO), as shown
          on pages 61-62 and 139-142 of the budget document. The office serves not only the City but
          other towns and unincorporated areas of Benton County. In return, Benton County pays
          approximately $100,000/year through an intergovernmental agreement. Though this was
          originally going to sunset this year, it was agreed to extend it another year while transitioning
          to a new model. The transition will be to have two Economic Development FTEs report to the
          Community Development department, with the other approximately two FTEs transitioned to
          City Manager’s Office support. Exact transitions are still being determined, but the focus will
          be on organizational sustainability and performance management, as well as support for the
          Imagine Corvallis Action Network (ICAN) and the Climate Action Advisory Board (CAAB).
          These organizational changes will be reflected in next year’s budget process.

          Commissioner comments and responses to commissioner questions are as follows:
          • In response to a question from Councilor Ellis, Manager Shepard said they could not
             make a commitment to the number of FTEs that would be committed to support the
             CAAB and ICAN work, as it will be determined during the transitioning process.
          • In response to a question from Councilor Napack, the City has a sustainability
             coordinator housed in Public Works that focuses primarily on internal organization
             efforts. The position in the City Manager’s Office will likely have a broader focus and
             higher-level view but perhaps could dovetail into the work already being done.
          • In response to questions from Councilor Lytle, Manager Shepard said that for this next
             fiscal year the personnel costs will still come out of the Economic Development budget.
             If a significant change is made to that approach, the Budget Commission would be
             reconvened to review it. As reflected in the Budget document on page 142, the
             “Revolving Loan Program” ($275,000) in the Non-Recurring Project budget is the grant
             program through the County and this reference might need to be revised to clarify that it
             is a grant and is not a revolving loan program.
          • In response to Commissioner Brandon Trelstad, Manager Shepard again noted that the
             Economic Development performed by two FTEs will move to Community
             Development, with the balance of FTEs staying in the CMO.

IV.    ADJOURNMENT
       The meeting adjourned at 8:17 p.m.




Budget Commission Minutes, May 4, 2023                                                         Page 6 of 6
                                                                                        Ex. 1 - Shepard Decl.
                                                                                                 Page 6 of 6
